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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. _________________

 TALBOTT’S MOUNTAIN GOLD LLLP, a Colorado limited liability limited partnership;
 TALBOTT LAND AND PROPERTY LLLP, a Colorado limited liability limited partnership;
 BLAINE D PRODUCE COMPANY LLC, a Colorado limited liability company;
 BOX ELDER RANCH, LLC, a Colorado limited liability company;
 BOX ELDER RANCH, INC., a Colorado corporation;
 MARC ARNUSCH FARMS LLC, a Colorado limited liability company; and
 MAUCH FARMS, INC., a Colorado corporation,

        Plaintiffs,

 v.

 JARED POLIS, in his official capacity as Governor of Colorado;
 JOSEPH M. BARELA, in his official capacity as Executive Director of the Colorado
 Department of Labor and Employment; and
 SCOTT MOSS, in his official capacity as Director of the Division of Labor Standards and
 Statistics, Colorado Department of Labor and Employment,

        Defendants.

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs, Talbott’s Mountain Gold LLLP; Talbott Land and Property LLLP; Blaine D

Produce Company LLC; Box Elder Ranch, LLC; Box Elder Ranch, Inc.; Marc Arnusch Farms

LLC; and Mauch Farms, Inc., by and through undersigned counsel, hereby submit their

Complaint for Declaratory and Injunctive Relief as follows:

                               JURISDICTION AND VENUE

       1.      The claims in this action arise under the Fifth Amendment to the United States

Constitution (the “Fifth Amendment”), which is made applicable to the States by the Fourteenth
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Amendment. This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 1983 and 28

U.S.C. § 1331. Plaintiffs seek a remedy under 28 U.S.C. § 2201.

        2.      State officials may be sued for declaratory and injunctive relief when their actions

violate the United States Constitution. See Ex Parte Young, 209 U.S. 123 (1908).

        3.      This Court has both subject matter and personal jurisdiction to enjoin the

Defendants from enforcing unconstitutional state legislation.

        4.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because the events

giving rise to this action occurred in this district, and the properties that are the subject of this

action are situated in this district.

                                         INTRODUCTION

        5.      The Plaintiffs own and operate farms and ranches throughout the state of

Colorado, from the Eastern Plains to the Western Slope.

        6.      Each Plaintiff is an “employer,” as defined at C.R.S. § 8-13.5-103 (1), in that they

each are engaged in business and have one or more employees.

        7.      Each Plaintiff is also an “agricultural employer,” as defined at C.R.S. § 8-3-104

(1) (a), in that they each regularly engage the services of one or more employees, and they are

each engaged in services or activities recognized as “agriculture” under the federal Fair Labor

Standards Act. See 29 U.S.C. § 203 (f).

        8.      Each Plaintiff engages in agriculture on property to which it controls access under

Colorado law, either through fee ownership or through present possession of a leasehold interest.

See Robinson v. Legro, 325 P.3d 1053, 1059 (Colo. 2014) (Hobbs, J., concurring) (leasehold

estate grants tenant exclusive right to possession including the right to exclude others); Grynberg



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v. Northglenn, 739 P.2d 230, 236-37 (Colo. 1987) (holder of mineral lease entitled to assert

claim of civil trespass separate from mineral and surface rights owners); Plotkin v. Club Valencia

Condominium Assoc., 717 P.2d 1027, 1028 (Colo. App. 1986) (trespass is entry upon real estate

of another absent invitation or permission of person lawfully entitled to possession, whether

landlord or tenant); CJI-Civ. 2d. 18:1 (2022) (elements of trespass include lawful possession of

property); C.R.S. § 35-46-102 (Colorado Fence Law) (“any person” entitled to recover damages

when livestock trespasses on fenced property).

       9.      The Plaintiffs are challenging certain statutory provisions, recently adopted by the

Colorado General Assembly as part of Senate Bill 21-087, which authorize uninvited parties to

enter the Plaintiffs’ farms and ranches, as well as the farms and ranches of other Colorado

agricultural employers, in violation of the Fifth Amendment.

       10.     Specifically, the Plaintiffs are challenging, both as applied to them and on their

face, C.R.S. § 8-13.5-202 (b) and (c) to the extent that those provisions grant “key service

providers” the right to access the Plaintiffs’ properties without their consent.

       11.     The Plaintiffs further challenge C.R.S. § 8-13.5-204 to the extent that it authorizes

the Colorado Department of Labor and Employment (“CDLE”), through its Division of Labor

Standards and Statistics (the “Division”), to enforce the key service provider access provisions of

Section 8-13.5-202 (b) and (c).

       12.     The specific provisions of C.R.S. § 8-13.5-202 (b) and (c) and of C.R.S. § 8-13.5-

204 being challenged in this matter are hereinafter referred to as the “Colorado Access

Provisions” or the “Access Provisions.”




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       13.     The Plaintiffs seek declaratory and injunctive relief against the Defendants in

their official capacities, because each of them is authorized to enforce the Colorado Access

Provisions.

       14.     As the United States Supreme Court recently held in Cedar Point Nursery v.

Hassid, 594 U.S.       , 141 S. Ct. 2063, 2072 (2021), an “access regulation [that] appropriates a

right to invade [a] growers’ property . . . constitutes a per se physical taking.”

       15.     The Colorado Access Provisions, which are far more onerous than the California

regulation held unconstitutional in Cedar Point, afford key service providers the right to access

Plaintiffs’ properties at a variety of times, and for an almost unlimited variety of reasons.

       16.     As a consequence, the Access Provisions, in effect, impose an easement upon the

Plaintiffs’ properties, and thereby deprive Plaintiffs of the right to exclude uninvited parties from

their farms and ranches.

       17.     Accordingly, the Colorado Access Provisions, which provide agricultural

employers no right to just compensation for the taking of private property rights, violate the Fifth

Amendment, as applied to the State of Colorado through the Fourteenth Amendment. For that

reason, Plaintiffs are entitled to equitable relief, including a preliminary injunction, under 42

U.S.C. § 1983 and the federal Declaratory Judgment Act, 28 U.S.C. § 2201.

                                          THE PARTIES

       18.     Plaintiffs Talbott’s Mountain Gold LLLP and Talbott Land and Property LLLP

(together “Talbott Farms”) are Colorado limited liability limited partnerships. Talbott Farms’

property is located in and near Palisade, Colorado.




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       19.     Plaintiff Blaine D Produce Company LLC (“Blaine Produce”) is a Colorado

limited liability company. Blaine Produce’s farm property is located in and near Clifton,

Colorado.

       20.     Plaintiff Box Elder Ranch, LLC is a Colorado limited liability company; and

Plaintiff Box Elder Ranch, Inc. is a Colorado corporation (together “Box Elder Ranch”). Box

Elder Ranch’s farm and ranch property is located near Wray, Colorado.

       21.     Plaintiff Marc Arnusch Farms LLC (“Marc Arnusch Farms”) is a Colorado

limited liability company. Marc Arnusch Farms’ property is located near Keenesburg, Colorado.

       22.     Plaintiff Mauch Farms, Inc. (“Mauch Farms”) is a Colorado corporation. Mauch

Farms’ farm property is located near Lamar, Colorado.

       23.     Defendant Jared Polis is named as a Defendant in his official capacity as

Governor of Colorado.

       24.     Defendant Joseph M. Barela is named as a Defendant in his official capacity as

Executive Director of CDLE.

       25.     Defendant Scott Moss is named as a Defendant in his official capacity as Director

of the Division.

                         THE COLORADO ACCESS PROVISIONS

       26.     On June 25, 2021, Governor Polis signed into law Colorado Senate Bill 21-087,

entitled “Agricultural Workers’ Rights” (the “Bill”).

       27.     The Bill imposes a wide variety of unprecedented employment-related obligations

on Colorado agricultural employers. At issue here, the Bill specifies that a farm or ranch

business, in its capacity as an employer,



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               shall not interfere with an agricultural worker's reasonable access
               to key service providers at any location during any time in which
               the agricultural worker is not performing compensable work or
               during paid or unpaid rest and meal breaks, and with respect to
               health-care providers during any time, whether or not the
               agricultural worker is working.

C.R.S. § 8-13.5-202 (1) (b). For purposes of the Bill, a “key service provider” is defined as “a

health care provider; a community health worker, including a promotora; an education provider;

an attorney; a legal advocate; a government official, including a consular representative; a

member of the clergy; and any other service provider to which an agricultural worker may need

access.” C.R.S. § 8-13.5-201 (7) (emphasis added).

       28.     C.R.S. § 8-13.5-202 (c) requires that the Division promulgate rules establishing

"additional times during which an employer may not interfere with an agricultural worker's

reasonable access to key service providers, including periods during which the agricultural

worker is performing compensable work, especially during periods when the agricultural worker

is required to work in excess of forty hours per week and may have difficulty accessing such

services outside of work hours.”

                                   THE DIVISION’S RULE

       29.      On January 31, 2022, the Division adopted 7 CCR 1103-15 (the “Rule”), which

became effective on May 1, 2022. Section 1.1 of the Rule provides that the general purpose of

the Rule is to “exercise the authority of this Division to enforce and implement [the Colorado

Access Provisions].”

       30.     As required by Section 8-13.5-202 (c) of the Bill, Section 4.3 of the Rule specifies

additional times when an employer may not interfere with an agricultural worker’s access to a

key service provider.


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       31.       Section 5.1 of the Rule prohibits any retaliation for, or interference with, an

agricultural worker’s exercise, or attempt to exercise, any protected activity or right under the

Colorado Access Provisions or the Rule.

       32.       Section 5.3 outlines enforcement mechanisms available to address any alleged

violation of the Colorado Access Provisions or the Rule.

                THE COLORADO EMPLOYER-PROVIDED HOUSING PROVISIONS

       33.       Separate and apart from the Colorado Access Provisions, the Bill provides that,

“[a]n employer shall not interfere with an agricultural worker’s reasonable access to visitors at

the agricultural worker’s employer-provided housing during any time when the agricultural

worker is present at such housing. See C.R.S. § 8-13.5-202 (1) (a) (emphasis added).

       34.       The Bill further states that:

                 No person other than [an] agricultural worker may prohibit, bar, or
                 interfere with, or attempt to prohibit, bar, or interfere with, the
                 access to or egress from the residence of any agricultural worker
                 by any person, either by the erection or maintenance of any
                 physical barrier, by physical force or violence or by the threat of
                 physical force or violence, or by any order or notice given in any
                 manner.

See C.R.S. § 8-13.5-202 (2) (emphasis added) (collectively with subsection (1) (a), “the Housing

Provisions”).


                    THE COLORADO TRANSPORTATION PROVISIONS

       35.       The Bill also imposes an obligation upon agricultural employers, who “provid[e]

housing and transportation for agricultural workers,”

                 to at least one day per week, provide transportation to the
                 agricultural workers to a location where the workers can access
                 basic necessities, conduct financial transactions, and meet with key


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                service providers; except that transportation must be provided not
                less than one day every three weeks for range workers who are
                actively engaged in the production of livestock on the open range.”

See C.R.S. § 8-13.5-202 (1) (e) (emphasis added).

        36.     “If an agricultural worker has access to the worker’s own vehicle and is permitted

to park the vehicle on the employer’s property, the employer is not required to provide

transportation as set forth in [Subsection (1) (e)].” See C.R.S. 8-13.5-202 (1) (f) (collectively

with Subsection (1) (e), the “Transportation Provisions”).

                                             STANDING

Talbott Farms

        37.     Talbott Farms’ fruit farming operations are located just east of Grand Junction,

across the Colorado River from the Town of Palisade, Colorado. Declaration of Bruce Talbott,

attached as Exhibit 1, at ¶ 2.

        38.     Talbott Farms is known throughout the Mountain West for the fruits produced in

its orchards and vineyards, including its renowned Palisade Peaches. Id.

        39.     Through two component companies, Talbott’s Mountain Gold LLLP and Talbott

Land and Property LLLP, Talbott Farms has access to, and operates on, a patchwork of non-

contiguous parcels of private agricultural property, totaling approximately 550 acres, that are not

open to the general public. Id. at ¶¶ 3-7.

        40.     As an owner or a tenant, Talbott Farms is the exclusive occupant of, and controls

access to, all of the property it farms. Id. at ¶ 6.




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        41.    Talbott Farms’ operations are seasonal, and its employee census therefore varies

throughout the year, from a low of approximately 30 people, to a harvest-season total of

approximately 110. Id. at ¶ 8.

        42.    Talbott Farms owns and provides housing for those of its employees who

participate in the federal H-2A Temporary Agricultural Program, through which foreign, non-

immigrant workers gain the opportunity for Talbott Farms employment. Id. at ¶ 9.

        43.    Talbott Farms has always permitted employees to invite visitors into their dorm

units, which are easily accessible from public roads. Id.

        44.    Talbott Farms’ employees have access to vehicles owned by Talbott Farms that

they are welcome to use whenever they need to make a trip to Palisade for personal business.

The Farm provides transportation for any employee who is unable, or does not desire, to drive.

Id. at ¶ 10.

        45.    Talbott Farms’ food safety plan, and its related compliance programs, are of

utmost importance to its operation. Talbott Farms maintains positions of employment, the sole

focus of which is compliance with federal, state, and industry food safety standards. Id. at ¶ 11.

        46.    Talbott Farms is subject to periodic Good Agricultural Practices (“GAPs”) and

Good Handling Practices (“GHPs”) audits conducted under the supervision of the Colorado

Department of Agriculture and in accordance with the United States Department of Agriculture

Fresh Produce Audit Verification Program. Id. at ¶ 12.

        47.    The GAPs and GHPs to which Talbott Farms adheres are not compatible with

having unannounced key service providers coming onto Talbott Farms’ properties at any location

and at any time. The Colorado Access Provisions therefore threaten Talbott Farms’ ability to



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continue achieving outstanding scores on GAP and GHP audits, which could adversely affect its

business operations. Id. at ¶¶ 14-15.

       48.     Talbott Farms is in the process of undertaking an additional auditing regimen

based on Global Food Safety Initiative benchmarks. Passing this audit is critical to the Farm’s

ability to sell its produce to regional and national grocery retailers. It includes requirements that

are not compatible with the Access Provisions’ authorization of service providers coming onto

Farm property in search of employees with whom they wish to meet. Id. at ¶ 16.

       49.     Talbott Farms challenges the Colorado Access Provisions because they

appropriate its right to exclude from its orchards, vineyards, and packing houses individuals who,

but for the Access Provisions, would be trespassers. Id. at ¶ 17.

Blaine Produce

       50.     Blaine Produce operates greenhouses, shade tunnels, and cultivated fields on

properties that it owns in and near Clifton, Colorado, just east of Grand Junction. Declaration of

Blaine Diffendaffer, attached as Exhibit 2, at ¶ 3.

       51.     Blaine Diffendaffer is the founder and sole proprietor of Blaine Produce, which

does business as “Blaine’s Tomatoes & Farm.” Id. at ¶ 2.

       52.     Blaine Produce’s five greenhouses and four shade tunnels are located on private

property that Mr. Diffendaffer’s parents acquired in 1969, and where Mr. Diffendaffer grew up.

The greenhouses and shade tunnels are not open to the general public. Id. at ¶¶ 4-5.

       53.     Blaine Produce’s cultivated fields are also located on private property that the

company controls, and that is not open to the public. Id. at ¶¶ 3 & 5.




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       54.     Blaine Produce grows signature hybrid and heirloom tomatoes, as well as

specialty greens, vegetables, fruits, and flowers. Id. at ¶ 6.

       55.     Blaine Produce currently employs four people who work in its greenhouses, shade

tunnels, and fields, and plans to add one or two more employees in the near future. These

employees are each engaged in “agriculture” and are “agricultural workers” for purposes of the

Access Provisions. Id. at ¶¶ 7-8.

       56.     All of Blaine Produce’s employees reside in or near Grand Junction, and travel to

and from Blaine Produce’s greenhouses, shade tunnels, and fields throughout the work week. Id.

at ¶¶ 9-10.

       57.     Because Blaine Produce produces food for human consumption, and in order to

meet the demands of its customers, the company maintains strict food safety protocols

throughout its farming operations. Id. at ¶ 11.

       58.     For example, Blaine Produce’s greenhouse employees must frequently wash their

hands; must wear lab coats and latex gloves; and must disinfect their shoes whenever entering a

greenhouse. They are also required to regularly disinfect the tools they use to tend the soils and

growing plants, and the surfaces on which they work. Id. at ¶ 12.

       59.     None of Blain Produce’s greenhouses, or the properties on which they are located,

are open to the general public. Id. at ¶ 5.

       60.     The Colorado Access Provisions open Blaine Produce’s private property to people

who are unknown to Blaine Produce; who Blaine Produce did not invite; who are not required to

provide Blaine Produce with notice in advance of their arrival; and who Blaine Produce is

prohibited from interfering with. Id. at ¶¶ 13-14.



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        61.     The specialty fruits, vegetables, and flowers that Blaine Produce grows in its

greenhouses, shade tunnels, and fields, are, at times, fragile. Just as important, they are also

susceptible to disease. Id. at ¶ 15.

        62.     In particular, the tobacco mosaic virus, if introduced into a greenhouse or onto a

field, could diminish production by up to twenty percent and ruin tomatoes or other produce

worth thousands of dollars. This virus often exists on the hands and clothing of people who use

tobacco products, is easily transmitted to plants, and once established, can be very difficult to

eradicate. Id. at ¶ 16.

        63.     Of even greater concern to Blaine Produce is the possibility that a key service

provider who wanders onto one of its fields, or into one of its greenhouses or shade tunnels,

would introduce the tomato brown rugose fruit virus (“ToBRFV”). This virus, which is highly

virulent and frequently identified on the surfaces of grocery chain tomatoes and peppers grown

in Mexico and Canada, can destroy an entire crop. ToBRFV can be carried on human skin or

clothing and is easily transmitted by touching anything that comes into contact with plants or

their fruit. The only practical method of eradicating ToBRFV is to destroy affected plants, and

to dispose of potentially contaminated soils. Id. at ¶ 17.

        64.     The fact that the Colorado Access Provisions provide Blaine Produce with only a

limited right to establish “protocols designed to manage biohazards and other risks of

contamination” and “to promote food safety” affords the company little comfort, given the

devastating consequences it could confront should a key service provider ignore its posted

warnings and enter one of its greenhouses, shade tunnels, or fields. Id. at ¶ 18.




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           65.   Moreover, the Colorado Access Provisions afford Blaine Produce no right to

remove or exclude a key service provider who refuses to comply with its health and safety

protocols. Instead, the Access Provisions give the service provider the right to file an

administrative complaint, or a lawsuit, against Blaine Produce for “interference.” Id. at ¶ 19.

           66.   But for the Access Provisions, Blaine Produce would not permit every person

who identifies themself as a service provider to enter its private property without its consent. Id.

at ¶ 21.

           67.   Blaine Produce challenges the Colorado Access Provisions because they

appropriate its right to exclude from its greenhouses, shade tunnels, and fields individuals who,

but for the Access Provisions, would be trespassers.

Box Elder Ranch

           68.   Box Elder Ranch is a row crop and feedlot operation located on private property

in Yuma County, Colorado, due south of the Town of Wray. Declaration of Audrey Rock,

attached as Exhibit 3, at ¶ 2.

           69.   The Ranch owns the property it occupies, which is not open to the general public.

Id. at ¶ 10.

           70.   Box Elder Ranch is composed of two business entities: Box Elder Ranch, LLC

and Box Elder Ranch, Inc. Id. at ¶ 3

           71.   Box Elder Ranch, LLC owns the property on which the Ranch operates. It leases

that property to Box Elder Ranch, Inc. Id. at ¶ 4.

           72.   Box Elder Ranch, Inc. is the operating entity that employs the Ranch’s workforce.

Id. at ¶ 5.



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        73.     Box Elder Ranch is the sole occupant of the property on which the Ranch

operates, and, other than with respect to Key Service Providers, the Ranch controls access to that

property. Id. at ¶ 10.

        74.     In addition to feeding beef cattle, the Ranch maintains a bison herd on its

property. Id. at ¶ 6.

        75.     Box Elder Ranch presently hires eight full-time employees and adds a few part-

time employees at harvest. All of its employees are actively engaged in farming and ranching

operations. Id. at ¶ 7.

        76.     Box Elder Ranch does not provide employee housing on its farm and ranch

property. The Ranch foreman lives in a house the Ranch owns that is several miles from Ranch

headquarters. The foreman is free to invite guests to his residence as and when he wishes to do

so. Id. at ¶¶ 8-9.

        77.     Uninvited visitors coming onto Box Elder Ranch property, without notice and at

any time the Ranch is operating, pose significant risks for the Ranch, not only because of

potential interruptions in its operations, but also because of the potential for physical harm. Id. at

¶ 11.

        78.     With respect to the Ranch’s cultivated acreage, people identifying themselves as

key service providers may, without intending to do so, interfere with irrigation; damage crops;

and sustain serious injuries owing to the heavy equipment Ranch employees operate, particularly

during harvest. Id. at ¶ 12.

        79.     Of greater concern is the possibility that key service providers will interact with

the Ranch’s livestock, which can seriously injure a person who is not familiar with large animals.



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The Ranch is particularly concerned about people coming into contact with its bison herd. Id. at

¶ 13.

        80.     Box Elder Ranch also has concerns about disease being spread by key service

providers who visit multiple feedlots or other livestock operations in a single day. Because of

the Colorado Access Provisions, the Ranch faces the risk of losing cattle or bison to a disease

outbreak instigated by people the Ranch does not know, did not invite, and over whom it has

little or no control while on its property. Id. at ¶ 14.

        81.     Box Elder Ranch has previously been targeted by activists who have come onto

its property and created problems for its employees and for its livestock. Box Elder Ranch does

not wish to have its property – which is easily accessible from public roads – similarly invaded

by key service providers who can claim a right to be on the property, as well as a right to be free

from “interference” while there. Id. at ¶ 15.

        82.     The Ranch understands that the Colorado Access Provisions are now in effect and

intends to comply with them. Id. at ¶ 16.

        83.     Box Elder Ranch challenges the Access Provisions because they appropriate its

right to exclude from its cultivated fields, feedlots, and Ranch headquarters individuals who, but

for the Access Provisions, would be trespassers. Id. at ¶ 17.

Marc Arnusch Farms

        84.     Marc Arnusch and his family own and operate Marc Arnusch Farms. Declaration

of Marc Arnusch, attached as Exhibit 4 at ¶ 2.

        85.     Marc Arnusch Farms cultivates approximately 2,500 irrigated and dry-land acres

located in Weld County, Colorado. It grows seed wheat, seed barley, corn silage and alfalfa to



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support local dairies, and specialty artisan grains for use in craft brewing and distilling. Id. at ¶¶

2-3.

          86.   Marc Arnusch Farms controls access to all of the land it cultivates, no portion of

which is open to the general public. Id. at ¶ 4.

          87.   Owing to its adoption of advanced technologies, including GPS-directed,

remotely controlled farm equipment, Marc Arnusch Farms presently requires only four

employees. Id. at ¶ 5.

          88.   Marc Arnusch Farms provides on-farm housing for one employee. Id. at ¶ 6.

That employee is welcome to invite guests into his employer-provided home. He owns several

vehicles with which to make trips to the nearby town of Keenesburg, or elsewhere, to attend to

personal business. In addition, the Farm makes a truck available to him. Id. at ¶ 6-7.

          89.   Owing to the Colorado Access Provisions, Marc Arnusch Farms’ properties are

now open to anyone who identifies themself as a key service provider, with few limitations. Id.

at ¶ 8.

          90.   The Access Provisions provide Marc Arnusch Farms with no recourse for dealing

with a group of key service providers who come onto its private property without an invitation,

and without advance notice, and claim a right to go anywhere on the property in search of

employees. Id. at 9.

          91.    Rather, the Access Provisions prohibit Marc Arnusch Farms from interfering

with such a group while it takes access to the Farm’s private property, and threaten the Farm

with administrative sanctions and lawsuits if it attempts to do so. Id.




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        92.     The virtually unfettered access that the Colorado Access Provisions grant to key

service providers also creates significant problems for Marc Arnusch Farms in meeting its

obligation, under the Colorado Premises Liability Act, to protect people who come onto its farm

from injury, given the automated heavy equipment that is frequently in use during planting and

harvesting seasons. Id. at ¶ 10.

        93.     Marc Arnusch holds a Private Pesticide Applicator’s License issued by the

Colorado Department of Agriculture and routinely applies pesticides to crops grown by Marc

Arnusch Farms. While these pesticides are safe when used by applicators with adequate training

and equipment, they can become harmful to humans at certain points in the application process

absent appropriate safety precautions. Id. at ¶ 11.

        94.     The Farm is concerned that key service providers authorized to take access to its

private property, without advance notice and without its owners’ consent, could come into

contact with, and be harmed by, the pesticides the Farm applies, thereby compromising its

compliance with both federal and state regulations that govern Mr. Arnusch’s applicator’s

license. Id. at ¶ 12.

        95.     Marc Arnusch Farms challenges the Colorado Access Provisions because they

require the farm to permit self-identified service providers, who appear without warning, to

immediately, and with few if any restrictions, take access to its private property. In doing so, the

Access Provisions appropriate Marc Arnusch Farms’ right to exclude from its family farm

individuals who, but for those Provisions, would be trespassers. Id. at ¶ 13.




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Mauch Farms

         96.    Mauch Farms is a family farm that has been in operation since 1940. It cultivates

approximately 4,000 irrigated acres in Prowers County, Colorado, north of the City of Lamar.

Declaration of Dale Mauch, attached as Exhibit 5, at ¶¶ 3-4.

         97.    The Farm raises alfalfa, corn, wheat, and sorghum, as well as beef cattle. Id. at ¶

4.

         98.    Mauch Farms’ operations are located on a “checkerboard” of private property,

some of which the Mauch family owns and some of which it leases. No part of the Farm is open

to the general public and Mauch Farms is in control of access to all of the property it farms. Id.at

¶ 10-12.

         99.    Mauch Farms employs eight people in full-time positions at present. One of these

employees has been a part of the Mauch Farms team for forty years. Id. at ¶ 5.

         100.   All of Mauch Farms’ employees are involved in agricultural production and all

are “agricultural workers” as defined for purposes of the Access Provisions. Id. at ¶ 7.

         101.   Mauch Farms does not provide employee housing. Rather, its employees live in

or near Lamar. The Farm provides vehicles with which its employees travel to and from its

properties, as well as to the irrigation ditches that serve those properties. Id. at ¶¶ 8-9.

         102.   Owing solely to the Colorado Access Provisions, Mauch Farms must now permit

uninvited “service providers” to take access to the properties that it cultivates. Id. at ¶ 14.

         103.   The Access Provisions’ override of Mauch Farms’ right to exclude uninvited

visitors from its private, agricultural properties may well increase its operating costs. Id. at ¶¶

14-15.



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       104.    Without intending to do so, service providers who take access to Mauch Farms’

property can easily interfere with its irrigation systems, which are critical to its farming

operations. Id. at ¶ 16.

       105.    Service providers with little, if any, farm experience may also trample and destroy

crops, without realizing that they are doing so. Id.

       106.    Besides interfering with irrigation equipment and damaging crops, a service

provider could be injured by the large – and potentially dangerous – equipment that Mauch

Farms’ employees frequently operate, particularly during planting and harvest seasons. Id. at ¶

17.

       107.    When such an injury inevitably occurs to a service provider who has taken access

to the Farm’s property, the cost of the Farm’s property and casualty insurance will almost

certainly increase, further stretching its already thin financial margins. Id. at ¶ 18.

       108.    Mauch Farms is, and will continue, complying with the Colorado Access

Provisions solely because of its legal obligation to do so. Absent those Provisions, Mauch Farms

would not permit all self-identified “service providers” to enter its farm properties without its

consent. Id. at ¶ 19.

       109.    Mauch Farms challenges the Colorado Access Provisions because they

appropriate its right to exclude from its private, cultivated, and irrigated fields those who, but for

the Access Provisions, would be trespassers. Id.

Plaintiffs’ Injuries in Fact & Likelihood of Redress

       110.    Owing to the Colorado Access Provisions, each of the Plaintiffs has suffered an

invasion of a legally protected interest, namely their Fifth Amendment protections against the



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state government’s taking of private property without just compensation. For that reason, each

of the Plaintiffs has, by virtue of the adoption of the Access Provisions by the Colorado General

Assembly, suffered an injury in fact.

          111.   It is likely that the injury in fact each Plaintiff has suffered as a result of the

Access Provisions will be redressed by a decision favorable to Plaintiffs in this matter.

          112.   For these reasons, each of the Plaintiffs has standing to bring the claims asserted

herein.

   CEDAR POINT NURSERY v. HASSID & THE COLORADO ACCESS PROVISIONS

          113.   On June 23, 2021, two days before Governor Polis signed the Bill, the United

States Supreme Court issued its opinion in Cedar Point Nursery v. Hassid, in which agricultural

employers mounted an as-applied, constitutional challenge to a California Agricultural Labor

Relations Board regulation that provided labor organizations a “right to take access” to their

private property in order to solicit interest in unionization (the “California Regulation”). See

Cedar Point, 141 S. Ct. at 2069.

          114.   As the Court concisely explained the core issue:

                 [N]o one disputes that, without the [California Regulation], the
                 growers would have had the right under California law to exclude
                 union organizers from their property. And no one disputes that the
                 [California Regulation] took that right from them.

Cedar Point, 141 S. Ct. at 2076.

          115.    Squarely addressing this issue, the Court determined that the California

Regulation imposed a per se physical taking, without just compensation, upon the Cedar Point

plaintiffs, thereby violating the Fifth and Fourteenth Amendments. See Cedar Point, 141 S. Ct.

at 2072.


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       116.    Specifically, the Court held that:

               The [California Regulation] appropriates a right to invade the
               growers’ property and therefore constitutes a per se physical taking.
               The regulation grants union organizers a right to physically enter
               and occupy the growers’ land for three hours per day, 120 days per
               year. Rather than restraining the growers’ use of their own property,
               the [California Regulation] appropriates for the enjoyment of
               third parties the owners’ right to exclude.

Id. at 2072 (emphasis added).

       117.    Rejecting the State’s assertion that the California Regulation was merely a

regulatory limitation on use, rather than a per se taking of property rights, the Court explained

that it could not “agree that the right to exclude is an empty formality, subject to modification at

the government’s pleasure. On the contrary, it is a ‘fundamental element of the property right,’

that cannot be balanced away.” Id. at 2077 (citations omitted).

       118.    In reference to its prior decisions in National Labor Relations Board v. Babcock,

351 U.S. 105 (1956), and Lechmere, Inc. v. National Labor Relations Board, 502 U.S. 527

(1992), the Court also noted that neither Cedar Point plaintiff housed employees on its

agricultural properties. See Cedar Point, 141 S. Ct. at 2069-70. As the Court explained, with

respect to claims arising under the National Labor Relations Act, union organizers could

potentially assert a limited right to access an employers’ property to contact employees who

resided on that property and were otherwise “’beyond the reach of reasonable union efforts to

communicate with them.’” Id. at 2077 (quoting NLRB v. Babcock, 351 U.S. at 113); see also

Lechmere, 502 U.S. at 537 (the Court does not endorse the theory that the NLRA permits

“reasonable” trespasses; where reasonable alternative means of communication exist, the NLRA

does not guarantee union organizers the right to trespass on private property).



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       119.    The service provider right of access imposed by the Colorado Access Provisions

is far broader, and substantially more violative of private property rights, than was the union

organizer access right created by the California Regulation at issue in Cedar Point.

       120.    For example, the California Regulation expressly excluded dairy farm milking

barns and milk houses, poultry farm hatcheries and enclosed egg production areas, and covered

growing areas of floral nursery operations from organizer access. See Calif. Code Regs. § 20901

(Limitation for Special Segments of Agriculture). The Colorado Access Provisions include no

limitations on service provider access to any Colorado employer’s property.

       121.    Likewise, access under the California Regulation was limited to labor organizers,

while the Colorado Access Provisions open farm and ranch property to demands for access by

any service provider “to which an agricultural worker may need access.” See C.R.S. §§ 8-13.5-

201 (7); 8-13.5-202 (1) (b).

       122.    The California Regulation limited union organizers’ right to invade agricultural

employers’ private property to not more than four, identified, thirty-day periods each year. See

Calif. Code Regs. § 20900 (e) (1). By contrast, the Colorado Access Provisions impose no limit

on the number of days service providers may demand access to the property of employers in

general, and agricultural employers in particular.

       123.    The California Regulation allowed access only after filing notice with the

California Agricultural Labor Relations Board, and service of notice on the landowner. See

Calif. Code Regs. § 20900 (e) (1). The Colorado Access Provisions require no notice

whatsoever that self-identified “service providers” intend to invade a farm or ranch.




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       124.     The California regulation limited the number of organizers that could access an

agricultural employer’s property, and required organizers to wear badges identifying themselves.

See Calif. Code Regs. § 20900 (4) (A)-(C). By contrast, the Colorado Access Provisions offer no

protection whatsoever to employers with respect to how many service providers may lawfully

invade their property at one time.

       125.    In contrast to the facts at issue in Cedar Point, whether an employer provides

housing on its property is irrelevant to the claims asserted here, as, separate from the Access

Provisions, the Bill’s Housing Provision expressly prohibits any employer from interfering with

an agricultural worker’s access to visitors at the worker’s employer-provided housing. See

C.R.S. § 8-13.5-202 (1) (a). Plaintiffs do not challenge the Housing Provision of the Bill.

       126.    Further, the Bill’s Transportation Provision requires all agricultural employers

that provide housing and transportation for agricultural workers who do not have access to a

vehicle of their own to afford transportation to town or another location where the workers can,

among other activities, meet with service providers. See C.R.S. § 8-13.5.202 (1) (e). The

Plaintiffs do not challenge the Bill’s Transportation Provision.

       127.    As a consequence, the Babcock and Lechmere Courts’ concern with employees

being beyond the reach of reasonable efforts to communicate with them is directly addressed,

and obviated, by the Housing and Transportation Provisions of the Bill and, therefore, are

irrelevant to the Plaintiffs’ challenge to the Access Provisions.

       128.    In sum, the Colorado Access Provisions create a substantially broader right for

non-employee third parties to invade employer property than did the California Regulation at

issue in Cedar Point. As a consequence, the Access Provisions deprive Colorado farm and ranch



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owners of precisely the right to exclude that was central to the Supreme Court’s conclusion that

the California Regulation imposed a per se physical taking of private property without just

compensation, and for that reason, violated the Fifth and Fourteenth Amendments.

                        FACIAL CONSTITUTIONAL CHALLENGE

       129.    Plaintiffs attack the Colorado Access Provisions on purely legal grounds and

contend that the Access Provisions are invalid with respect to Colorado agricultural employers,

as defined by C.R.S. § 8-3-104 (a) and as described below, without exception.

       130.    Plaintiffs’ claims, and the relief that would follow, reach beyond their own,

particular circumstances to all Colorado agricultural employers who, but for the Access

Provisions, would, in accordance with Colorado law, hold the right to exclude key service

providers from the property they own or lease for purposes of engaging in agriculture.

       131.    More particularly, Plaintiffs assert that the Colorado Access Provisions, on their

face, violate the Fifth and Fourteenth Amendments and, therefore, cannot be enforced against

Colorado agricultural employers with respect to property they own or lease and on which they

engage in agriculture, that is not open to the general public, and from which they have the right

to exclude third parties as provided in Colorado law. See United States v. Supreme Court, 839

F.3d 888, 914 (10th Cir. 2016) (facial standards should be applied only to the universe of

applications contemplated by plaintiffs’ claim, and not to all conceivable applications

contemplated by a challenged provision); id. at 916, n. 15 (facial challenge may be limited to a

subset of applications of the challenged statute).




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                     AS-APPLIED CONSTITUTIONAL CHALLENGE

       132.    A party “may challenge the constitutionality of a statute by asserting a facial

challenge, an as-applied challenge, or both.” U.S. v. Supreme Court, 839 F.3d at 907.

       133.    Even if the Colorado Access Provisions are not unconstitutional and

unenforceable with respect to the subset of all Colorado employers described above, they are

clearly unenforceable with respect to the Plaintiffs.

       134.    In particular, each Plaintiff regularly hires one or more employees to engage in

agricultural labor on property that is not open to the public and from which the Plaintiff may, but

for the Access Provisions, exclude key service providers in accordance with Colorado law.

                         DECLARATORY RELIEF ALLEGATIONS

       135.    Under the Fifth and Fourteenth Amendments, Plaintiffs have a right to be free

from laws that take private property for public use without providing a mechanism for awarding

just compensation.

       136.    Defendants are charged with enforcing the Access Provisions, which physically

take an interest in private property, but afford agricultural employers no means of obtaining just

compensation for that per se taking.

       137.    There is a justiciable controversy in this case as to whether the Access Provisions,

on their face, violate the Fifth and Fourteenth Amendments with respect to Colorado agricultural

employers who engage in agriculture on property from which, but for the Access Provisions,

they would have the right to exclude service providers.




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       138.    There is, in the alternative, a justiciable controversy as to whether the Access

Provisions, as applied to the Plaintiffs, violate the Fifth and Fourteenth Amendments by

imposing a per se taking, without just compensation, upon the Plaintiffs.

       139.    A declaratory judgment as to whether the Access Provisions unconstitutionally

take private property without compensation will clarify the legal relations between Plaintiffs and

Defendants with respect to enforcement of the Access Provisions.

       140.    A declaratory judgment as to the constitutionality and legality of the Access

Provisions will give the parties relief from the uncertainty and insecurity giving rise to this

controversy.

                           INJUNCTIVE RELIEF ALLEGATIONS

       141.    Plaintiffs have no adequate remedy at law to address the unconstitutional taking

of their property effected by the Access Provisions and under the color of state law.

       142.    In light of Cedar Point, there is a substantial likelihood that Plaintiffs will succeed

on the merits of their claims that the Access Provisions unconstitutionally take private property.

       143.    Plaintiffs are required to allow key service providers to enter their property under

the authority of the Access Provisions. They cannot avoid these events without judicial relief,

and will suffer irreparable injury absent a preliminary injunction restraining Defendants from

enforcing the Access Provisions.

       144.    Likewise, Plaintiffs will suffer irreparable harm absent a permanent injunction

restraining Defendants from enforcing the Access Provisions.




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       145.    Plaintiffs’ harm, the unconstitutional taking of a private property interest for the

benefit of third parties, outweighs any harm the injunction might cause Defendants in particular,

or the State of Colorado more generally.

                                      CLAIM FOR RELIEF

                    (Taking of an Easement Without Just Compensation,
      in violation of the Fifth and Fourteenth Amendments, through 42 U.S.C. § 1983)

       146.    Plaintiffs re-allege the allegations contained in paragraphs 1 through 145 above as

though fully set forth herein.

       147.    The Fifth Amendment to the Constitution, made applicable to the States through

the Fourteenth Amendment, provides: “nor shall property be taken for public use without just

compensation.” U.S. Const. amend. V.

       148.    The United States Supreme Court has recognized that the Declaratory Judgment

Act, 28 U.S.C. § 2201, “allows individuals threatened with a taking to seek a declaration of the

constitutionality of the disputed governmental action before potentially uncompensable damages

are sustained.” Duke Power Co. v. Carolina Envtl. Study Grp., Inc., 438 U.S. 59, 71 n.15 (1978).

       149.    Plaintiffs need not seek a remedy under state law before bringing this action in

federal court, and their claims are therefore ripe for this Court’s adjudication. See Knick v. Twp.

of Scott, 588 U.S.     , 139 S. Ct. 2162 (2019) (setting aside obligation to seek compensation via

inverse condemnation action).

       150.    Given the foregoing, the only proper remedies for the constitutional taking injury

alleged in this case are declaratory and injunctive relief, and this Court is the proper forum in

which Plaintiffs may seek such relief.




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       151.    The Access Provisions authorize service providers to enter Plaintiffs’ private

property without consent, and without compensation having been granted to Plaintiffs. For that

reason, the Access Provisions impose unconstitutional, per se takings against Colorado

agricultural employers, including the Plaintiffs. Consequently, Plaintiffs are entitled to

declaratory and injunctive relief preventing the application or enforcement of the Access

Provisions.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment from this Court as follows:

       1.      A declaratory judgment that the Colorado Access Provisions are facially

unconstitutional and, therefore, unenforceable against that subset of employers defined as

agricultural employers;

       2.      In the alternative, a declaratory judgment that the Colorado Access Provisions are

unconstitutional as applied to Plaintiffs and, therefore, unenforceable against them;

       3.      An order enjoining Defendants from enforcing the Colorado Access Provisions

against Colorado agricultural employers;

       4.      In the alternative, an order enjoining Defendants from enforcing the Colorado

Access Provisions against the Plaintiffs;

       5.      An award to Plaintiffs of reasonable attorneys’ fees for bringing and maintaining

this action pursuant to 42 U.S.C. § 1988;

       6.      An award to Plaintiffs of costs of suit pursuant to Federal Rule of Civil Procedure

54(d); and

       7.      An award to Plaintiffs of any other relief that the Court deems just and proper.



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      Respectfully submitted this 21st day of June, 2022.


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